Case 1:20-cr-00015-JPJ-PMS Document 18 Filed 06/23/20 Page 1 of 4 Pageid#: 25

                                                                                                       CLERTiAT
                                                                                                              OFAFIOEUS.DI3X couR-r
                                                                                                                         .

                                                                                                               6 Bi
                                                                                                                  FNG-DON, VA
                                                       .
                                                                                   '
                                                                                                                   ILED
                        IN TED jTATESDISTRICT COURT                                                            2'tJN 2: %
                                                                                                                        .1- ''
                        W ESTERN D ISTR IC T O F V IR GIN IA
                                                                                                           .
                                                                                                                             1
                                                                                                                             )       . .


                                  A BIN G DO N                                                           BYJ::J c- DL Y CCERK .
                                                                                                                     .




UNITED su l'ksoFAMERICA                                    )                                                       DE/
                                                           ) .
             V.                                            ) èaseyo.:)'
                                                                      ,5/ G )8
                                                           )
èolœ cAm xl                                                )
                                                           '
                                                       .


                                              O RD ER

      PursuanttoFederalRulesofCriminalProcedure6(e),16,and26.2j26U.S.C.jj
                                  i                                                            .
                                                                       .                                   '
                                  .

6103(h)(4)(D)ârlb(i)(4)(A),anàtheauthorityèftlzisCotyttoadministeritsproceedinjs,andon
m otion oftheUnited States,itisORDEREb thyt:

             TheUnitedStatesispermittedtodisclosetoçounselfortlte'defenseaspartof
                                      '
                    .

             vollmtarydiscovery,grahdjurymaterials,taxretllrnirlformation,criminal
             histories,m edicalm cords,witnessinterview reports,materialscovered by the
                                                       .                       '                               '             .




             Privacy Act,and otherm aterials;

             Any m aterialprovided by theUnited StatesAttorney'sOfficeto defensecounsel

             shailbecoveredbytllisOrderandshallbebefinedas'çoriginalmaterial''foi
             purposesofthisorder;

             TheUzzited Statesand'defensecounselmayusethismaterialfortheprosecution
                                                   .               '



             and defenseofthecase,respectivrly,atld m ake such furtherdisclostlresasm ay
                                                               ,           .                       $           k

             benecessaryfor,andforthesolepurposeof,prosecutingand defendjngthiscase;
             Counselforthedefense payusetltism aterialsolely forthedefensepfthecase,

             maynotcopyany ofthematerialexceptasneededfor.defenseofthecase(any
                                               ,                                           .       .                             '




             copyisgoyernedbythisOrderasifitweretheoriginal)andmay notremoveor .
             allow therem ovalofany ofthism aterialfroriltheoftk eofdefensecotmsel
                                          '                                            '
                         .                                                                     .

             unlesskeptin thepersopalpossession ofdefensecounselata1ltim es;
Case 1:20-cr-00015-JPJ-PMS Document 18 Filed 06/23/20 Page 2 of 4 Pageid#: 26




            Notwithstandingtherestrictionssetfohh in$hepreçedingparakraph;defense
            cotmselmay m ake acopy ofany materialsprovided.to couqselforthè'
                                                                           defendant

            by the Governm entto be given tothe appropriateperson to beplaced.on fileat
                    .                                                                     '               .
                                                                     ,               .
                                            .                            .               '


            thefqcilityholdingthedefendantinasectzrelocation(i.e.,warden'sofficeot
            cotpselor'sofdce),forthedefendant'sreview.These'materialsmg#V tbegiven
                        .                       .                                    .        .
                                                                                                  .
                                                                                                                      ,       .



            directly tp the defendantahdm ay notberem oved f'
                .                                           rom the securelocation by the .
                        t               '                                                             .
                            .                                                                                 q

            defendN
               f
                    t. Thedefendantisadvised thatViol
                                                    .
                                                      ation ofthisOydermay '
                                                                           result,in
                                                                                 .



            addition to otherpotentiqlpenalties,in the defendantbeing required to show

            causewhythedefendantshouldnotàeheldin contenbptofcourt.Defense
            cotmse1mustretrievethesem atèrialàattheconclusion ofthecase and either
            destroy the mateiialsorrettum them to theU.S.Attorney'sOffiçe.
                                                             .                                            '       I

         6. Before.adefendantviewsanyofthematerial,defensecounselshajlpr
                                                                       ,ovidethe
            defendantwith a copy ofthisOrder;

         7. A defendantmaynotbein.possessionofanyotthematèriplunlejsinthe
                                                                 '           .
                                                                                                                          .
                                                    y


            presçnce ofdefense counsel;

         8. Defensçcptmselshalldlligentlyprote'
                                    '
                                              ctfrom .
                                                     unnecqssary dissem inaiion any of
                                                        ..                                                                    .



            tùefollowinginformatioaincludedinthemàteriàls:socialsecudtyaccotmt
            nllmbers,.datesofbirth,financialaccotmtnumbers,ao homeaddresseé.While
            defensecotmselmaydisclosesuchinformation,itnecessaryfortheéefénse,
                                    '
            '                   .                                        y .
            defensecotm selshall.notprovideto and shallnotallow thedefendantto possess
            any documentation ofsuch izlform ation.

         9. lfdefensecotmseldoesnotWishtoreceivetheabovedescribedmaterials,
            defense cotmsel:
    Case 1:20-cr-00015-JPJ-PMS Document 18 Filed 06/23/20 Page 3 of 4 Pageid#: 27



                      à. Shallsoadvike,inwriting?theCourtàndtheUnitedStatesAtiorney's
                             upon receiptofthisOrder;
                                             '                                                       .
                                             .


                      b. Shallnotview,norallow anyoneelseto view ,ahy ofthem attrials;and
                             Forthw ith,shallrçtum a11materialsto theUnited StatesAttorney''kOffce
                                                                 '   .
                                                 .
                                                                                         '   .
                                                     .

                             andshalldestrùyallcopies(etectronicorothem ise)ofthematerials;
               10.Ifdefensecotmselisrem oved from the case,defensecounjel,forthwith,shall

                   rettlrn al1originalm ateriàlto theUnited StatesAttorney'sOffk e;
                                         .                           '
                                                             .               .
               11.Thisorderand itsprovisionscontinue beyond the conclusion ofthiscaseand

                   continueto applyto any defense cotmselwho'isrem okçd f'
                                                                         rom the casé;and

               12.NotwithstapdinèintepretationsofVirginiaRùleofProfessipnalConduct1.16(e)
                   orany otherprovision of1aw orethicalrule,defçnsecotm selm ay,neverprovide

                   thematerialsto a defendant,including,butnotlim itedto,foruseby'ihe
                        '                                .                           )           .

                   defçndanttbpreparejtpetitionptlrsuantto 18U.S.C.j2255.
           Unquthorizeddisclosureofgrandjuryinformationandtaxreturnsisaviolationöffederal

    law.Unauthorizeddisclosttreofanyofthematerialcouldendangerwitnejses,subjectthem to
                                                     .                           '



    intimidatiön,chillthèirèandor,violatçtheirprivacy,impedefutureinvestigationsand haveother
                         .           '                                   .           ' .


    negativeconsequences;W itnessintimidation,threatening,andtnmpedngafecriminalactsand

    aresubjecttopunishmentaccordingly;ViplationofthisOrdefalsomaybedeemedaccmtempt
    ofcourtptlrsuantto18U.S.C.j401.
           Iti?fartherORDEREW thati/anIndictmentinthiscaseisunderseal,theClerkofthis
.   Cburtshalldelay'disclosing a copy ofthisOrderto defense cotmseltmtilthetmsealing ofthe

    Indictm ent.
Case 1:20-cr-00015-JPJ-PMS Document 18 Filed 06/23/20 Page 4 of 4 Pageid#: 28



     ENTEREDthis25 dayofltme,2020.

                                            ITED STATES M AGISTM T     D E
